ad

10

lI

16

17

18

 

Case 3:21-cr-00274-CRB Document 29 Filed 10/28/21 Page 1of3

STEPHANIE M. HINDS (CABN 154284)
Acting United States Attorney

HALLIE HOFFMAN (CABN 210020)
Chief, Criminal Division

FRANK J. RIEBLI (CABN 221152)
Assistant United States Attorney

450 Golden Gate Avenue, Box 36055
San Francisco, California 94102-3495
Telephone: (415) 436-7200

FAX: (415) 436-7234
Frank.Riebli@usdoj.gov

Attorneys for United States of America
UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

UNITED STATES OF AMERICA, ) Case No. 21-CR-274 CRB
)
Plaintiff, )

) STIPULATION AND PROPOSED ORDER
Vv. ) CONTINUING HEARING

)
IAN BENJAMIN ROGERS, and )
JARROD COPELAND, )
)
Defendants. )
)
)

 

On July 8, 2021, the grand jury issued a six-count indictment charging Ian ROGERS and Jarrod
COPELAND with conspiring to destroy a building by arson or explosive device, weapons violations and
obstruction of justice. ROGERS has been (and remains) in custody in Napa County facing weapons
charges since January, 2021. The parties made their first appearance in District Court on August 18,

STIP. TO CONTINUE HRG 1
21-CR-274 CRB

 

 
th

10

li

16

17

18

 

Case 3:21-cr-00274-CRB Document 29 Filed 10/28/21 Page 2 of 3

2021. ROGERS appeared pursuant to a writ issued February 18, 2021. At that time, the parties agreed
to continue the matter for a status conference on October 27, 2021. Since then, the government has
provided additional discovery. In addition, counsel for ROGERS has been engaged in a multi-week
homicide trial in state court.

The parties hereby request that the Court continue the status hearing from October 27, 2021 to
December 14, 2021. The continuance will allow the government the time needed to produce additional
discovery and enable both parties to be in a better position to discuss both the pending charge and
potential resolution. In addition, it will allow the parties the ability to coordinate with counsel in the
parallel state proceeding. The government has been negotiating his transfer to federal custody, but as of
this filing, he remains in state custody.

For these reasons, and to allow for the effective preparation of counsel, the parties agree that the
ends of justice served by excluding the time from October 27, 2021 through December 14, 2021 from
computation under the Speedy Trial Act outweigh the best interests of the public and the defendant in a
speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

IT IS SO STIPULATED.
DATED: October 19, 2021 Respectfully submitted,

STEPHANIE M. HINDS
Acting United States Attorney

/s/

FRANK J. RIEBLI
Assistant United States Attorney

___/s/ Frank Riebli w/ permission for___

COLIN COOPER
Attorney for Ian Rogers

STIP. TO CONTINUE HRG 2
21-CR-274 CRB

 

 
10

 

Case 3:21-cr-00274-CRB Document 29 Filed 10/28/21 Page 3 of 3

er

JOHN AMBRO glo
JOHN for Jarro BO aa

[PROPOSED] ORDER

For the reasons set forth above, the Court hereby continues the status hearing in the
above-captioned matter from October 27, 2021 until December 14, 2021, at 10:00 a.m. Further, to
allow for the continued production of discovery and the effective preparation of counsel, the Court finds
that the ends of justice served by granting the continuance outweigh the interests of the public and the
defendant, and thus the Court excludes that period of time from the running of the speedy trial clock
under Rule 5.1 and 18 U.S.C. § 3161(b). The Court further orders that, to the extent that Ian Rogers
remains in state custody, the U.S. Marshal and the Director of Corrections of the Napa County
Department of Corrections shall produce Ian Rogers for the hearing on December 14, 2021, as provided
in the writ issued on February 18, 2021 in this matter.

IT IS SO ORDERED.

 

DATED: October , 2021
HON. CHARLES R. BREYER
United States District Judge

STIP. TO CONTINUE HRG 3
21-CR-274 CRB

 

 
